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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                  NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     EPIC GAMES, INC.,                                   Case No. 4:20-cv-05640-YGR
                                   5                   Plaintiff,                            ORDER SETTING EVIDENTIARY HEARING
                                   6             vs.                                         Re: Dkt. No. 897

                                   7     APPLE INC.,
                                   8                   Defendant.

                                   9

                                  10          Pending before the Court is plaintiff Epic Games, Inc.’s request to find defendant Apple, Inc.
                                  11   in civil contempt for failing to abide by this Court’s injunction, which requires it to implement
                                  12   certain practice changes relative to in- and out-of-app purchases. Having carefully considered the
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                                  13   briefing and for the reasons articulated below, the Court FINDS an evidentiary hearing is necessary to
                                  14   explore the factual bases for plaintiff’s motion and SETS such a hearing, subject to the parameters
                                  15   specified herein. Given the Court’s schedule, including a five-defendant three-month trial to begin
                                  16   this June, the hearing shall be held on Wednesday, May 8, 2024 at 8:30 a.m. To the extent
                                  17   proceedings have not concluded, they shall resume on Friday, May 10, 2024 at 12:00 p.m. and
                                  18   again on Friday, May 17, 2024 at 8:30 a.m.
                                  19          The Court begins by briefly summarizing the procedural history. On September 10, 2021,
                                  20   after a bench trial, the Court ruled that certain anti-steering provisions, such as those in Apple’s App
                                  21   Store Review Guidelines (the “Guidelines”), violate the unfairness prong of California Unfair
                                  22   Competition Law (“UCL”), Cal. Civ. Code § 17200, et seq., because they “hide critical information
                                  23   from consumers” relative to alternate payment methods, thereby “illegally stif[ling] consumer
                                  24   choice.” (Dkt. No. 812 at 3, 162–67.) The Court subsequently crafted and entered a permanent,
                                  25   nationwide injunction requiring Apple to implement practice changes. The injunction survived
                                  26   appeal and remains in force.
                                  27          On January 16, 2024, Apple filed a notice identifying steps taken to comply with the
                                  28   injunction. (See generally Dkt. No. 871.) On March 13, 2024, Epic Games filed the pending motion
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                                   1   to enforce the injunction, asserting that, contrary to Apple’s representations, the company’s “new

                                   2   App Store policies continue to impose prohibitions on developers that this Court found unlawful and

                                   3   enjoined.” (Dkt. No. 897, Motion to Enforce the Injunction (“Mot.”) at 6:2–3.) Plaintiff seeks as relief

                                   4   a Court order: (i) holding Apple in civil contempt for violating the injunction; (ii) requiring Apple to

                                   5   promptly bring its policies into compliance; and (ii) requiring Apple to remove all anti-steering

                                   6   provisions in Section 3.1.3 of the Guidelines. Thus, Epic Games requests that this Court invoke its

                                   7   “inherent authority to enforce compliance with its order[] through a civil contempt proceeding.”

                                   8   Craters & Freighters v. Daisychain Enterprise, 2014 WL 2153924, at *1 (N.D. Cal. May 22, 2014).

                                   9           To succeed on such a motion, Epic Games must show, by clear and convincing evidence, that

                                  10   (1) Apple violated the injunction, (2) its violation was “beyond substantial compliance,” and (3) its

                                  11   conduct was “not based on any good faith and reasonable interpretation of the injunction.” United

                                  12   States v. Bright, 596 F.3d 683, 694 (9th Cir. 2010) (cleaned up). “[T]he proper practice,” when a
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                                  13   party is alleged, as here, to be in contempt of court, is “to require the [purported] offender to appear

                                  14   and show cause why he should not be punished.” Cooke v. United States, 267 U.S. 517, 535 (1925);

                                  15   see also Int’l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 827 (1994) (“[C]ivil

                                  16   contempt sanctions . . . may be imposed in an ordinary civil proceeding upon notice and an

                                  17   opportunity to be heard.”).

                                  18           Here, Epic Games makes three primary arguments regarding Apple’s alleged non-

                                  19   compliance with the injunction. One, “the web of technical requirements, economic hurdles, and

                                  20   user frictions imposed through Apple’s new policies” serve as “a de facto prohibition on [e]xternal

                                  21   [l]inks” in violation of the injunction. (Mot. at 19:26–27; 20:2–3.) Two, Apple’s new commission

                                  22   structure for out-of-app purchases made after a user clicks an external link “alone frustrate[s] the

                                  23   purpose of the [i]njunction.” (Mot. at 19:25–26.) Three, the plain text of Section 3.1.3 of the

                                  24   Guidelines, as further revised by Apple, violates the injunction by prohibiting covered apps from,

                                  25   “within the app, encourag[ing] users to use a purchasing method other than in-app purchase.” (Dkt.

                                  26   No. 874, Notice of Compliance, Corrected Ex. 1, Guidelines § 3.1.3.) Epic Games supports these

                                  27   arguments with screenshots of Apple’s required system disclosure sheet and developer-oriented web

                                  28   pages, as well as by reference to the Guidelines and related addenda, as well as other materials.
                                                                                           2
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                                   1          Having reviewed these arguments and the supporting documentation relevant thereto, the

                                   2   Court FINDS that Epic Games has made a sufficient preliminary showing that, viewed holistically,

                                   3   Apple’s practice changes undermine the spirit of the injunction by limiting competition, impeding

                                   4   the free flow of information, and constraining user choice. The Court SETS an evidentiary hearing to

                                   5   further assess Epic Games’ arguments as well as Apple’s defenses.

                                   6          Parties are advised that parameters shall apply to the topics raised at the hearing. Namely, the

                                   7   parties shall provide evidence concerning the following: (i) the external link entitlement program

                                   8   and related requirements, technical or otherwise; (ii) the decision-making process relative to Apple’s

                                   9   commission structure for out-of-app purchases and impact of such structure, especially given the

                                  10   payment structure which exists for physical items or other items outside of the app; (iii) Section

                                  11   3.1.3 of the Guidelines; and (iv) out-of-app communications between developers and users.

                                  12          The Court anticipates discussion of this process will touch on the Analysis Group report
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                                  13   referenced in Alex Roman’s sealed declaration. Thus, Apple is ORDERED to lodge the report under

                                  14   seal and provide it to opposing counsel by Friday, April 26, 2024. Further, Roman SHALL attend in

                                  15   person. If for whatever reason Roman is unavailable, the Court will accept a designee in his stead,

                                  16   although such designee must have also been involved in the process of designing the revised

                                  17   commission structure, including the presentation of such structure to the Price Committee, and be

                                  18   familiar with Apple’s engagement with the Analysis Group. Ned S. Barnes, who submitted a

                                  19   declaration to which Epic Games refers in their reply, SHALL also attend.

                                  20          The parties shall each file a witness list by noon on Tuesday, April 30, 2024 with a short

                                  21   description of the anticipated evidence and an exhibit list by Friday, May 3, 2024. Electronic

                                  22   copies of exhibits shall be exchanged no later than noon on Saturday, May 4, 2024.

                                  23          IT IS SO ORDERED.

                                  24

                                  25   Dated: April 23, 2024
                                                                                                 YVONNE GONZALEZ ROGERS
                                  26                                                            UNITED STATES DISTRICT JUDGE
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